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                     EXHIBIT “C”
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                        UNITED STATES DISTRICT COURT
 7                    SOUTHERN DISTRICT OF CALIFORNIA
 8
     JOHN MCCURLEY,                          Case No.: 17-cv-986 BAS (AGS)
 9   INDIVIDUALLY AND ON                               consolidated with
10   BEHALF OF ALL OTHERS                    Case No.: 17-cv-1988 AJB (AGS)
     SIMILARLY SITUATED,
11
                                             REPORT OF NATHAN BACON
12                Plaintiff,                 IN SUPPORT OF PLAINTIFFS’
13                   v.                      REPLY IN SUPPORT OF
                                             MOTION FOR CLASS
14   ROYAL SEAS CRUISES, INC.,               CERTIFICATION
15
                  Defendant.
16
     DAN DEFOREST,
17
     INDIVIDUALLY AND ON
18   BEHALF OF ALL OTHERS
19
     SIMILARLY SITUATED,

20                Plaintiff,
21                   v.
22   ROYAL SEAS CRUISES, INC.,
23
                  Defendant.
24
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26
27
28


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 1                            REPORT OF NATHAN BACON
 2
       I.       BACKGROUND
 3
       1. I have been retained to conduct an assessment and provide an expert opinion
 4
             of the validity of various technological statements made by witnesses in this
 5
             matter. Specifically I was asked to provide an opinion on whether the
 6
             “consent” data produced by Mr. Brody as Exhibit B of his Declaration (Dkt.
 7
 8           No. 58-7, Pg. 18) could have been legitimately provided by a consumer

 9           through the www.diabeteshealth.info web portal on the date represented by
10           the Defendant in this matter. My opinions are limited at this time to this
11           singular issue. I reserve the right to revise or revisit my opinions if more
12           information, data or documents are produced at a later time.
13     2. I have reviewed the following materials in preparing my report and forming
14           my opinions:
15              ● Declaration of Kevin Brody (Dkt. No. 58-7)
16              ● The Diabeteshealth.info website, including both by navigating the
17
                   website, and viewing the source code for the website
18
                ● www.waybackmachine.org
19
20
21     II.      EXPERIENCE AND QUALIFICATIONS
22     3. The matters stated herein are based upon my personal knowledge or matters
23
             known or reasonably available to me.
24
       4. I hold a Bachelor’s of Science Degree from Chapman University in Computer
25
             Information Systems. As part of my education, I studied computer science
26
             for three years at The University of Arizona, before transferring to Chapman
27
             University. I also worked as a website developer during that time period.
28


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 1     5. During my education, I took courses in which I studied HTML, javascript,

 2        java and many other programming and scripting languages. I also studied
 3        database management with an emphasis on sql.
 4     6. After graduation, I was hired as a software engineer by Gamblit Gaming LLC.
 5        I have received a promotion since starting my work with Gamblit, and
 6        currently hold a position as Software Engineer II. In my role as a software
 7        engineer, and during the course of my work, the majority of my time is spent
 8        architecting, writing and troubleshooting bugs, and assisting and managing
 9        members of a team with the same or similar duties. The coding work that I
10
          do on a daily basis in my career involves technologies which are used in
11
          modern website design.
12
       7. I primarily write code in java and sql, but also spend time working on nodeJS
13
          applications.
14
       8. In addition to my work with Gamblit Gaming LLC, I have spent several years
15
          assisting companies with website design.
16
       9. It would be fair to say that a large portion of my educational and working
17
18        career have been spent working on technological projects relating precisely to

19        what I was asked to analyze in preparing this report.
20     10.I applied this experience and education in order to form my opinions. I did
21        not need to consult with any educational materials in order to formulate these
22        opinions, because my current level of expertise and familiarity with
23        programming and coding was sufficient to provide the opinions herein. My
24        opinions are my own and are supported by my background and education in
25        this industry.
26     11.I have been retained by Plaintiffs at an hourly rate of $300 per hour. I bill at
27
          $400 per hour for depositions.
28


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 2     III.    ANALYSIS
 3     12.I was asked by Plaintiffs to opine on the veracity of Mr. Brody’s testimony
 4          relating to his presentation of Plaintiff McCurley’s “consent” data.
 5     13.Mr. Brody states in his Declaration that he works with a large network of
 6          publishers which control the website www.diabeteshealth.info. See Brody
 7          Decl. ¶¶ 8-11. Mr. Brody states that when a consumer accesses the website
 8          domain www.diabeteshealth.info, the person is met with a form which needs
 9          to be completed in order for the individual to receive telephone calls to learn
10
            about the products or services being offered. He goes on to state that with
11
            respect to the phone number for Plaintiff John McCurley, web server records
12
            show that Mr. McCurley’s phone number was voluntarily provided by a
13
            consumer through the www.diabeteshealth.info web portal on April 30, 2017.
14
            He attaches what he refers to as a “true and correct copy” of the records pulled
15
            from Landfall Data’s web server as Exhibit B.
16
       14.In my opinion, as an experienced computer programmer and a web developer,
17
18          these statements are highly questionable.

19
20     i.      Mr. Brody’s Testimony is Implausible Because Exhibit B Includes Data
21             Fields That Cannot Be Captured Through www.diabeteshealth.info
22     15.In order to assess the validity of Mr. Brody’s statement I began by visiting the
23          website www.diabeteshealth.info. I pulled a copy of the source code as it
24          exists   today.     I   also   used   a   web   archiving    tool   located   at
25          www.waybackmachine.org in order to pull an archive copy of the website as
26          it existed on January 27, 2017. I pulled a copy of the source code for
27
            www.diabeteshealth.info as of January 27, 2017 as well and from June 25,
28


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 1        2017. My purpose in doing so was to find an archive that was older than the

 2        date shown in Exhibit B of Mr. Brody’s Declaration, and from immediately
 3        after because that would verify whether the source code had materially
 4        changed since that time, i.e. whether the website had been programmed in a
 5        materially different manner in 2017, than it was programmed today.            I
 6        confirmed that with respect to the issues presented in this Report, it had not
 7        materially changed.
 8     16.“Courts have taken judicial notice of the contents of web pages available
 9        through the Wayback Machine as facts that can be accurately and readily
10
          determined from sources whose accuracy cannot reasonably be questioned,”
11
          Erickson v. Nebraska Machinery Company, Case No. Case No. 15–cv–
12
          01147–JD, 2015 WL 4089849 Fn. 1 (N.D. Cal. July 6, 2015), citing
13
          Fed.R.Evid. 201; Pond Guy, Inc. v. Aquascape Designs, Inc., No. 13–13229,
14
          2014 WL 2863871, at *4 (E.D.Mich. Jun. 24, 2014); In re Methyl Tertiary
15
          Butyl Ether (MTBE) Products Liab. Litig., 2013 WL 6869410 (S.D.N.Y. Dec.
16
          30, 2013).
17
18     17.Attached as Exhibit A is a copy of the source code which I pulled from the

19        www.diabeteshealth.info website.
20     18.Attached as Exhibit B is a copy of the source code which I pulled from
21        www.waybackmachine.org’s        archive   of   the   www.diabeteshealth.info
22        website. I trimmed the excess code added to it as a result of being pulled from
23        the Wayback Machine to more easily compare the source code. The archive
24        date from which I pulled this data was dated January 27, 2017. I tried to pull
25        something closer to April 2017, but there were no available archives of the
26        website in that month. January 27, 2017 was the closest available archive
27
          prior to the date provided by Mr Brody of April 2017 available prior to that
28


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 1        date. Attached as Exhibit D is a copy of the www.waybackmachine.org web

 2        page that I visited in order to access this archived website.
 3     19.Attached as Exhibit C is a copy of the source code which I pulled from
 4        www.waybackmachine.org’s         archive   of   the    www.diabeteshealth.info
 5        website. I trimmed the excess code added to it as a result of being pulled from
 6        the wayback machine to more easily compare the source code. The archive
 7        date from which I pulled this data was dated June 25, 2017. I pulled this to
 8        be able to be able to compare the website from before and after the information
 9        was said to have been entered into the website. Attached as Exhibit D is a
10
          copy of the www.waybackmachine.org web page that I visited in order to
11
          access this archived website.
12
       20.In addition to reviewing the source codes for both time periods, I spent time
13
          navigating the website itself, both in present-day time, and through the
14
          archived     January      27,     2017      websites      available     through
15
          www.waybackmachine.org. I printed out screenshots of the website both
16
          from today (attached as Exhibit E and F and G), from the website as it existed
17
18        on January 27, 2017 (Exhibit H), and from the website as it existed on June

19        25, 2017 (Exhibit I).
20     21.Exhibit E represents a printout I made from www.diabeteshealth.info as the
21        website exists today.      Exhibit F represents a printout I made from
22        www.diabeteshealth.info as the website exists today, with part of my
23        information filled into the data fields. I left the data field “Phone” blank, but
24        filled in all other fields, and clicked the “NEXT” button in Exhibit F, after
25        which time the red box shown in Exhibit F was placed around that data field.
26        The website would not let me proceed to the next stage until I had entered in
27
          a phone number. I provided a fake number of 000-000-0000 in order to bypass
28


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 1        this screen, and get to the next screen.    Before entering information and

 2        clicking next, I took a screenshot, which is attached as Exhibit E.
 3     22.Exhibit F represents the layout of the www.diabeteshealth.info website after
 4        the first four data fields have been filled out and the “NEXT” button has been
 5        clicked by a user. The fields are blank by default.
 6     23.There is no data field for “address” anywhere in these options. The website
 7        does not ask for the individual’s address at all. Yet somehow, the data in
 8        Exhibit B to Mr. Brody’s Declaration shows an address was recorded into the
 9        database. This was very strange to me, because the SQL database query
10
          produced by Mr. Brody shows “address” “city” and “state” as specific fields
11
          which presumably would have been provided by the individual supposedly
12
          “consenting” to receive messages through the www.diabeteshealth.info
13
          website, and yet, the website itself never asks a consumer to enter such
14
          information into a field before submitting their “consent.” There is no place
15
          for that information to have been provided based on my thorough review of
16
          the www.diabeteshealth.info website. I was not able to find anything in the
17
18        source code either. The word “address” outside the context of “email address”

19        never appears in the source code. The same is true for “city” and “state.” The
20        fact that none of these three pieces of data can be entered into the web portal
21        by a consumer visiting the website, and that the source code does not
22        otherwise reference such data fields leads me to the conclusion that such data,
23        as presented in Exhibit B of Mr. Brody’s Declaration, was not entered in by a
24        consumer through the www.diabeteshealth.info web portal, but from some
25        other unknown place.
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 1     ii.       Mr. Brody’s Testimony is Implausible Because Exhibit B Has Blank Data

 2               Fields Which Technologically Cannot Be Left Blank As The Source Code
 3               And Functionality Of www.diabeteshealth.info Are Programmed
 4     24.Mr. Brody’s sworn testimony is questionable for another technological reason
 5           as well.
 6     25.I have reviewed diabeteshealth.info by navigating the website and analyzing
 7           its functionality, as well as reviewing the source code for the site, both in
 8           present day time, through the January 27, 2017 archive, and the June 25, 2017
 9           archive.
10
       26.What I found in navigating the website and reviewing the source code is that
11
             the website is designed and programmed in such a way that if one of the data
12
             fields (such as name, phone number, zip code or gender) is left blank, the
13
             website will highlight the missing information with a red border using a
14
             javascript function instead of submitting the data to the web server. See Ex.
15
             F
16
       27.The missing user input will cause a red box to outline the data field that is
17
18           blank, and the website will not permit the user to proceed to the next step until

19           information is entered into the blank data field.
20     28.I confirmed that this was how the websites functioned not only by navigating
21           the website but also by reviewing the source code for the website.
22           Specifically, I would point to the following code from Exhibit A of my Report:
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23     29. The “validate” function as written in the code above requires validation of a
24        complete set of conditions before the next “popup” can be triggered, i.e.
25        before moving to the following screen after clicking “NEXT.” As shown in
26        the source code, on page one of the website (Exhibit E), those conditions are
27        that all four of the data fields be not blank(firstName, lastName, email, and
28


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 1        phone) and that the check box be clicked “agree.” This is shown in lines 399-

 2        422 of the code above.
 3     30.If these conditions are not met, the javascript will cause a solid red 1 pixel
 4        border to encircle the data field shown by “1px solid red.” This is shown in
 5        lines 399-422 of the source code.
 6     31.If the data fields are filled and the check-box is checked, then the source code
 7        causes a form to appear with more fields to be filled out by the user as shown
 8        in Exhibit G. It does this by calling a function called “popup_click()” once.
 9        This is shown in lines 422-426 of the source code above.
10
       32.The source code is programmed in the same manner with respect to this
11
          second form using the function “validate1”, requiring zipcode, age, gender,
12
          besttimecall, patient_relationship, and type_insurance to all be filled, or else
13
          be met with a “1px solid red” error. This is shown on line 439 of the source
14
          code above.
15
       33.The data fields for “age”, “gender”, “best time”, “patient relationship”, and
16
          “type of insurance” are all drop down menus with preselected options, as
17
18        opposed to blank fields that could have data entered into them by the user.

19     34.If all information is present, then it will call a function “popup_click” for the
20        second time. On being invoked for the second time, the function uses ajax
21        code to make a HTTP POST request to a remote server to a piece of php code
22        called "index-form.php". Presumably this piece of code is what stores the
23        information into their database.
24     35.I ruled out the possibility that blank data such as a space could have been
25        entered into the “age”, “gender”, “best time”, “patient relationship”, or “type
26        of insurance” fields, because those fields were not manual entries like some
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 1        of the other fields, but were drop down menus which do not allow for the

 2        possibility of any entries but for those present in the drop down menu.
 3     36.I attempted multiple times to submit data without having any of the drop down
 4        menu options selected for either “gender” or “patient relationship.” I was
 5        unable to bypass the error indicators that were programmed in the source code
 6        for the website. In other words. Despite numerous attempts, I could not
 7        replicate a scenario where information from all other fields except for
 8        “gender” and “patient relationship” were selected, but where those fields were
 9        blank. Yet, these fields are blank in Exhibit B to Mr. Brody’s Declaration,
10
          while other data fields are filled.
11
       37.Accordingly, it is my opinion that if this website is feeding data entries into a
12
          database of the nature described by Mr. Brody in his Declaration, it would be
13
          highly improbable that these fields would be missing from the database. The
14
          reason for this is because if the website were operating as the source code
15
          shows it is designed, then it would use capture and save all the data received
16
          from a user into the database. Based on this, a row of data such as the one
17
18        presented as Exhibit B to Mr. Brody’s Declaration would not technologically

19        exist. Even more disturbing is the fact that there is extra information in the
20        row of data which was provided which cannot be submitted by a user of the
21        website. Where did this information come from? Certainly not from a user
22        who inputted the data into this website. Anomalies such as this are not
23        possible with standard coding and database management protocols, which
24        means that the data in Exhibit B of Mr. Brody’s Declaration did not come
25        from a submission by a consumer on www.diabeteshealth.info, but instead
26        came from some other unknown source.
27
28


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 1     38.I also spent some time to review the transcript from the deposition of Mr.

 2        Brody. When questioned about how the website would have obtained the data
 3        provided, Mr. Brody did not have any explanation. When the demonstration
 4        of the website was done, he did not have any explanation for how the extra
 5        data was obtained, or how some of the information was missing. It was clear
 6        from the transcript that Mr. Brody did not understand the website or how it
 7        functions, and therefore the legitimacy of the document he signed is very
 8        much in question. How could someone who repeatedly said under oath that
 9        the function of code and databases was not something he understood, also sign
10
          a document asserting that the data provided by this website and from the
11
          database was valid. By deduction, it would seem that he believed his business
12
          to be legitimate and so signed a document provided to him by attorneys which
13
          he did not understand the truth or gravity of.
14
       IV.   SUMMARY
15
       39.In my opinion, based on my review of the website, there was no way for the
16
          data that is presented by Mr. Brody in Exhibit B to have been submitted
17
18        through the www.diabeteshealth.info web portal. The data fields in his exhibit

19        include data that is not captured by that website, and also excludes data fields
20        which would have had to have been provided by a consumer who legitimately
21        submitted such information through the web portal in order for the remainder
22        of the data to have been transmitted to the server. The programming of the
23        source code does not match with the output testified to by Mr. Brody. Mr
24        Brody could not provide an explanation for the data inconsistencies. There is
25        no legitimate technological explanation for this anomaly that I can think of,
26        and ultimately, my conclusion is that that the data shown in Exhibit B of Mr.
27
28


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 1        Brody’s Declaration could not have possibly been generated through

 2        www.diabeteshealth.info. It must have come from somewhere else.
 3
 4     40.I have reached the opinions expressed herein based on a reasonable degree of
 5        certainty in the fields of computer programming, database management and
 6        web development.
 7
 8
          Executed at Topanga Canyon, California, this 6th day of January, 2019.
 9
          _____________________________________
10
11        Nathan Bacon
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 1   <!DOCTYPE html>
     <html lang="en">
 2      <head>
            <title>Home</title>
 3
            <meta charset="utf-8">
 4          <meta name="format-detection" content="telephone=no"/>
            <link rel="icon" href="images/favicon.ico" type="image/x-icon">
 5          <link rel="stylesheet" href="css/grid.css">
 6          <link rel="stylesheet" href="css/style.css">
            <link rel="stylesheet" href="css/booking.css"/>
 7
            <script src="js/jquery.js"></script>
 8
 9
            <!-- Start Alexa Certify Javascript -->
10          <script type="text/javascript">
11              _atrk_opts = {atrk_acct: "7Tg6o1QolK10zM", domain:
     "pinpointschool.com", dynamic: true};
12              (function () {
                    var as = document.createElement('script');
13
                    as.type = 'text/javascript';
14                  as.async = true;
                    as.src = "https://d31qbv1cthcecs.cloudfront.net/atrk.js";
15                  var s = document.getElementsByTagName('script')[0];
                    s.parentNode.insertBefore(as, s);
16
                })();
17          </script>
        <noscript><img
18   src="https://d5nxst8fruw4z.cloudfront.net/atrk.gif?account=7Tg6o1QolK10zM"
19   style="display:none" height="1" width="1" alt="" /></noscript>
        <!-- End Alexa Certify Javascript -->
20      <!-- Start GoogleAnalyticsObject Javascript -->
        <script>
21
            (function (i, s, o, g, r, a, m) {
22              i['GoogleAnalyticsObject'] = r;
                i[r] = i[r] || function () {
23                  (i[r].q = i[r].q || []).push(arguments)
24              }, i[r].l = 1 * new Date();
                a = s.createElement(o),
25                      m = s.getElementsByTagName(o)[0];
                a.async = 1;
26
                a.src = g;
27              m.parentNode.insertBefore(a, m)
            })(window, document, 'script', 'https://www.google-
28


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 1   analytics.com/analytics.js', 'ga');

 2          ga('create', 'UA-86434555-2', 'auto');
            ga('send', 'pageview');
 3
 4      </script>
        <!-- End GoogleAnalyticsObject Javascript -->
 5
 6
        <!--[if lt IE 9]>
 7      <html class="lt-ie9">
        <div style=' clear: both; text-align:center; position: relative;'>
 8
          <a href="http://windows.microsoft.com/en-US/internet-explorer/..">
 9          <img src="images/ie8-panel/warning_bar_0000_us.jpg" border="0"
     height="42" width="820"
10               alt="You are using an outdated browser. For a faster, safer
11   browsing experience, upgrade for free today."/>
          </a>
12      </div>
        <script src="js/html5shiv.js"></script>
13
        <![endif]-->
14
        <script src='js/device.min.js'></script>
15   </head>
16
     <body>
17      <div class="page">
            <!--========================================================
18                                    HEADER
19          =========================================================-->
            <header>
20              <div class="container vide_content">
                    <div class="brand">
21
                        <h1 class="brand_name">
22                          <a href="./">
                                <strong class="primary">Diabetes Health
23   Info</strong>
24                          </a>
                        </h1>
25                      <p class="brand_slogan">
                            Your one stop shop for all your diabetes needs
26
                        </p>
27                  </div>

28


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 1                  <h2>If you or a loved one is struggling with diabetes and need
     help you have come to the right place. We work with the largest brands to
 2   deliver the highest quality products with the deepest discounts.</h2>
 3
                    <h3>You may qualify for diabetic supplies at little or no cost,
 4   just fill out the form below to find out</h3>

 5                  <div class="row">
 6
                         <div class="grid_8 top_banner">
 7                           <img src="images/headerpic.jpg" alt=""/>
                         </div>
 8
                         <div class="grid_4   form_questions">
 9                           <form class="bookingForm" method="post" action="#"
     id="bookingForm">
10                              <div    class="booking-form">
11
                                    <div class="tmInput">
12                                      <input id="leadid_token"
     name="universal_leadid" type="hidden" value=""/>
13
                                        <input name="fname" class="fname required"
14   placeHolder="First name" type="text"
                                               data-constraints='@NotEmpty @Required
15   @AlphaSpecial'>
                                    </div>
16
                                    <div class="tmInput">
17                                      <input name="lname" class="lname required"
     placeHolder="Last name" type="text"
18                                             data-constraints='@NotEmpty @Required
19   @AlphaSpecial'>
                                    </div>
20                                  <div class="tmInput">
                                        <input name="email" class="email required"
21
     placeHolder="E-mail " type="text" data-constraints="@NotEmpty @Required
22   @Email">
                                    </div>
23
24                                  <div class="tmInput">
                                        <input name="phone" class="phone required"
25   placeHolder="Phone" type="text" data-constraints="@NotEmpty @Required @Phone">
                                    </div>
26
27                                  <div class="tmInput form_agree">
                                        <input name="agree" class="agree required"
28


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 1   type="checkbox" value="1" id="leadid_tcpa_disclosure"/>I agree Terms and
     Conditions
 2                                  </div>
                                    <a href="javascript:;" onclick="validate();"
 3
     class="btn">Next</a>
 4
                                    <div class="small_tandc">
 5                                      <p>
 6                                          By clicking next, I confirm that I have
     read and agree with the<a href="termsandconditions.php"> terms and conditions
 7   </a> and <a href="privacypolicy.php">privacy policy</a> and I agree to receive
     phone calls and text messages from Diabetes Health Info, Stymco and Bridgecare
 8
     Medical,Cal Med Gen, Education Direct, National Solar Experts, Home Service
 9   Companies, BBAR Mktg, CGX Mktg,Advanced Rx Care, Diabetic Discount Club, Senior
     Assist Network, Option Healthcare Solution, Diabetes supply chain llc, Helping
10   Hands Association, Senior Care Authority, Re-up Diabetes llc, Diabetes do inc.,
11   RX TO ME, Gerber Life Insurance, BEtter Off Healthy, Worldwide supplies
     partners llc, Health supply one Inc., Healthcare 4 all inc., Mobile world llc,
12   Royal Seas Cruises, Magazine world llc, Healthcare All The Time and <a
     href="#">marketing partners</a> at the phone number provided above, even if
13
     that is my mobile number, to discuss offers that may be of interest to me. I
14   understand that these calls and texts may be placed using an automatic dialer
     and/or pre-recorded messages and that my consent is not a condition of
15   purchasing goods and services.
16
                                        </p>
17                                  </div>

18                                  <div id="myModal" class="modal">
19                                      <!-- Modal content -->
                                        <div class="modal-content hide">
20
                                            <a href="index.php" class="close">×</a>
21
22
                                            <div class="popup2">
23                                              <div class="tmInput select">
24                                                  <input type="text"
     name="zipcode" class="zipcode required" placeholder="Zip Code"/>
25                                              </div>
                                                <div class="tmInput select">
26
                                                    <select class="age required "
27   name="age" style="color: gray;">
                                                        <option
28


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 1   value="">Age</option>
                                                          <option
 2   value="18">18</option><option   value="19">19</option><option
     value="20">20</option><option   value="21">21</option><option
 3
     value="22">22</option><option   value="23">23</option><option
 4   value="24">24</option><option   value="25">25</option><option
     value="26">26</option><option   value="27">27</option><option
 5   value="28">28</option><option   value="29">29</option><option
 6   value="30">30</option><option   value="31">31</option><option
     value="32">32</option><option   value="33">33</option><option
 7   value="34">34</option><option   value="35">35</option><option
     value="36">36</option><option   value="37">37</option><option
 8
     value="38">38</option><option   value="39">39</option><option
 9   value="40">40</option><option   value="41">41</option><option
     value="42">42</option><option   value="43">43</option><option
10   value="44">44</option><option   value="45">45</option><option
11   value="46">46</option><option   value="47">47</option><option
     value="48">48</option><option   value="49">49</option><option
12   value="50">50</option><option   value="51">51</option><option
     value="52">52</option><option   value="53">53</option><option
13
     value="54">54</option><option   value="55">55</option><option
14   value="56">56</option><option   value="57">57</option><option
     value="58">58</option><option   value="59">59</option><option
15   value="60">60</option><option   value="61">61</option><option
     value="62">62</option><option   value="63">63</option><option
16
     value="64">64</option><option   value="65">65</option><option
17   value="66">66</option><option   value="67">67</option><option
     value="68">68</option><option   value="69">69</option><option
18   value="70">70</option><option   value="71">71</option><option
19   value="72">72</option><option   value="73">73</option><option
     value="74">74</option><option   value="75">75</option><option
20   value="76">76</option><option   value="77">77</option><option
     value="78">78</option><option   value="79">79</option><option
21
     value="80">80</option><option   value="81">81</option><option
22   value="82">82</option><option   value="83">83</option><option
     value="84">84</option><option   value="85">85</option><option
23   value="86">86</option><option   value="87">87</option><option
24   value="88">88</option><option   value="89">89</option><option
     value="90">90</option><option   value="91">91</option><option
25   value="92">92</option><option   value="93">93</option><option
     value="94">94</option><option   value="95">95</option><option
26
     value="96">96</option><option   value="97">97</option><option
27   value="98">98</option><option   value="99">99</option>
     </select>
28


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 1                                               </div>
                                                 <div class="tmInput select">
 2                                                   <select class="gender required "
     name="gender" style="color: gray;">
 3
                                                           <option
 4   value="">Gender</option>
                                                           <option
 5   value="male">Male</option>
 6                                                         <option
     value="female">Female</option>
 7
                                                   </select>
 8
                                               </div>
 9                                             <div class="tmInput select">
                                                   <select class="besttimecall
10   required " name="besttimecall" style="color: gray;">
11                                                     <option value="">Best time
     to call</option>
12                                                     <option
     value="morning">Morning</option>
13
                                                       <option
14   value="afternoon">Afternoon</option>
                                                       <option
15   value="evening">Evening</option>
16
17                                                   </select>
                                                 </div>
18
19
                                                  <div class="tmInput select">
20                                                   <select
     class="patient_relationship required "   name="patient_relationship"
21
     style="color: gray;">
22                                                         <option value="">Patient
     relationship</option>
23                                                         <option
24   value="patient">Patient</option>
                                                           <option
25   value="relative">Relative</option>
                                                           <option
26
     value="caregiver">Caregiver</option>
27                                                         <option
     value="other">Other</option>
28


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 1
 2                                                  </select>
                                                </div>
 3
                                                <div class="tmInput select">
 4                                                  <select class="type_insurance
     required " name="type_insurance" style="color: gray;">
 5                                                      <option value="">Type of
 6   insurance</option>
                                                        <option
 7   value="medicaid">Medicaid</option>
                                                        <option value="medicare -
 8
     hmo">Medicare - HMO</option>
 9                                                      <option value="medicare -
     ppo">Medicare - PPO</option>
10                                                      <option value="blue cross
11   blue shield - hmo">Blue Cross Blue Shield - HMO</option>
                                                        <option value="blue cross
12   blue shield - ppo">Blue Cross Blue Shield - PPO</option>
                                                        <option value="blue cross
13
     blue shield - federal plan">Blue Cross Blue Shield - Federal Plan</option>
14                                                      <option
     value="humana">Humana</option>
15                                                      <option value="private
     insurance - hmo">Private Insurance - HMO</option>
16
                                                        <option value="private
17   insurancce - ppo">Private Insurance - PPO</option>
                                                        <option value="insured but
18   paying cash">Insured but paying cash</option>
19                                                      <option value="private
     insurance - ppo">Private Insurance - PPO</option>
20                                                      <option value="not
     insured">Not Insured</option>
21
                                                    </select>
22                                              </div>

23                                               <a href="javascript:;"
24   onclick="validate1();"   class="btn">Get Started</a>
                                             </div>
25
26
27
28


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 1                                            </span>
                                          </div>
 2
                                     </div>
 3
                                 </div>
 4                           </form>
                         </div>
 5                       <!--========================================================
 6                                                   Top Form container Ends
                           =========================================================-
 7   ->
                     </div>
 8
 9                   <div id="myModal2" class="modal">
                         <!-- Modal content -->
10                       <div class="modal-content">
11
                              <a href="index.php" class="close">×</a>
12
                            <strong>Thank you, your information has been submitted.
13
     One of our representatives will be contacting you shortly to discuss your
14   options.</strong>

15                       </div>
                     </div>
16
                 </div>
17      </div>
     </header>
18   <!--========================================================
19                            CONTENT
     =========================================================-->
20   <main>
21
22        <section class="well2">
              <div class="container center">
23                <div class="row">
24                    <h2>
                          "The process is a simple 3 step process"
25                    </h2>
                  </div>
26
                  <div class="row">
27
                     <div class="grid_4">
28


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 1
                         <div class="   steps_icon">   <img src="icons/form.png" alt="
 2   "> </div>
 3
 4                      <p>Fill out the form so we can gather a bit more information
     about your specific needs and coverage</p>
 5                  </div>
 6                  <div class="grid_4">
                        <div class=" steps_icon"> <img src="icons/callcenter4.png"
 7   alt=" "> </div>

 8
 9                      <p>Our agents will call you to clarify and ask any
     additional questions that will help us to get you the items you need with the
10   greatest savings.</p>
11                  </div>
                    <div class="grid_4">
12                      <div class=" steps_icon"> <img src="icons/3recs.png" alt="
     "> </div>
13
14                      <p>Receive your items in the mail!</p>
                    </div>
15              </div>
            </div>
16
        </section>
17
        <section class="bg-darken">
18          <div class="container well well__ins1 ">
19              <h2 class="center">About Us</h2>

20               <div class="row">
                     <div class="grid_6 video_container">
21
                         <div class="embed-container ">
22
                             <img src="./images/about_us.jpg" alt=""/>
23
24                      </div>
                    </div>
25                  <div class="grid_6 ">
                      <!-- <h3 class="primary wow fadeInRight" data-wow-
26
     delay="0.2s"> Pinpoint Schools has been helping students match to schools that
27   might be a good fit for them. </h3>
     -->
28


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 1                      <p class="wow fadeInRight" data-wow-delay="0.4s"
     style="font-size: 20px"> Diabetes Health Info helps patients get the critical
 2   products they need for the right price at the right time. Our staff of product
     experts assesses each individual's situation and works with them to get vital
 3
     products, often times at no cost to the patient. Our motto is "If the customer
 4   is not happy, then neither are we". We built our business upon this pillar over
     10 years ago and continue to pride ourselves on our customer service.    </p>
 5                  </div>
 6              </div>
            </div>
 7      </section>

 8
        <section class="well3">
 9          <div class="container ">
                <div class="row">
10                  <div class="grid_4 ">
11                      <img src="images/checkboxes.jpg" alt="   ">

12                  </div>

13
14
                    <div class="grid_4">
15                      <ul class='marked-list'>
                            <li>
16
                                <a href='#'> Test Strips</a>
17                          </li>
                            <li>
18                              <a href='#'> Syringes</a>
19                          </li>
                            <li>
20                              <a href='#'> Glucose Meter Kits</a>
                            </li>
21
22                      </ul>
                    </div>
23                  <div class="grid_4">
24                      <ul class='marked-list'>
                            <li>
25                              <a href='#'> Glucose Log Books</a>
                            </li>
26
                            <li>
27                              <a href='#'> Insulin Pump Supplies</a>
                            </li>
28


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 1                          <li>
                                <a href='#'> Diabetic socks and several other's</a>
 2                          </li>
 3
 4                      </ul>
                    </div>
 5              </div>
 6          </div>
        </section>
 7
        <section class="parallax parallax1">
 8
            <div class="container center">
 9              <h2 class="primary">Subscribe</h2>

10              <h3>
11                  Please enter your email address to subscribe to our newsletter
     to stay ahead of the quickly changing trends in diabetes
12
13
                </h3>
14
                <form id="subscribe-form" class="subscribe-form">
15                  <label class="email">
                        <input type="email" value="Enter your email">
16
                        <span class="error">*Invalid email.</span>
17                      <span class="success">Your subscription request has been
     sent!</span>
18                  </label>
19                  <a class="btn2" data-type="submit" href="#">Subscribe</a>
                </form>
20          </div>
        </section>
21
22
     </main>
23
24   <!--========================================================
                              FOOTER
25   =========================================================-->
     <footer>
26
        <div class="container wow fadeInUp" data-wow-delay="0.2s">
27          <div class="grid_12 ">
                <img src="images/logo-img-school.png" alt=" ">
28


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 1
            </div>
 2
 3
 4      </div>

 5      <div class="container">
 6          <div class="brand">
                <h1 class="brand_name">
 7                  <a href="./">
                        <strong class="primary"> Diabetes Health Info</strong>
 8
                    </a>
 9              </h1>
            </div>
10
11          <div class="copyright">
                (c) <span id="copyright-year"></span>. All Rights Reserved
12              <!-- {%FOOTER_LINK} -->
            </div>
13
        </div>
14   </footer>
     </div>
15   <script>
16
     $(".popup2").hide();
17   $(".popup3").hide();
       $("#myBtn").click(function(){
18           count = 0;
19          $(".popup2").show();
            $(".popup1").show();
20         $("#myModal2").hide()
             $(".btn").show();
21
      });
22    function validate()
     {
23          var fname = $(".fname").val();
24          var lname = $(".lname").val();
            var email = $(".email").val();
25          var phone = $(".phone").val();
26
            var agree = $(".agree").is(':checked');
27          $(".required").css("border","");
            if(fname=="" && lname=="" && email =="" && phone=="" || agree=="false")
28


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 1          {
            $(".required").css("border","1px solid red");
 2          }
            else if(fname=="")
 3
            {
 4           $(".fname").css("border","1px solid red");
            }
 5          else if(lname=="")
 6          {
             $(".lname").css("border","1px solid red");
 7          }
            else if(email=="")
 8
            {
 9           $(".email").css("border","1px solid red");
            }
10          else if(phone=="")
11          {
             $(".phone").css("border","1px solid red");
12          }
            else if(!$(".agree").is(':checked'))
13
            {
14           $(".form_agree").css("border","1px solid red");
            }
15          else{
            $(".required").css("border","");
16
                 popup_click();
17            $(".btn").attr("onclick", "validate1();");
            }
18   }
19   function validate1()
     {
20       var zipcode = $(".zipcode").val();
         var age = $(".age").val();
21
         var gender = $(".gender").val();
22       var besttimecall = $(".besttimecall").val();
         var patient_relationship = $(".patient_relationship").val();
23       var type_insurance = $(".type_insurance").val();
24
           $(".required").css("border","");
25       if(zipcode=="" || age=="" || gender=="" || besttimecall=="" ||
     patient_relationship=="" || type_insurance=="" )
26
         {
27           if(zipcode=="")
             {$(".zipcode").css("border","1px solid red");}
28


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 1              else{$(".zipcode").css("border","");}

 2              if(age=="")
                {$(".age").css("border","1px solid red");}
 3
                else{$(".age").css("border","");}
 4              if(gender=="")
                {$(".gender").css("border","1px solid red");}
 5              else{$(".gender").css("border","");}
 6              if(besttimecall=="")
                {$(".besttimecall").css("border","1px solid red");}
 7              else{$(".besttimecall").css("border","");}
                if(patient_relationship=="")
 8
                {$(".patient_relationship").css("border","1px solid red");}
 9              else{$(".patient_relationship").css("border","");}
                if(type_insurance=="")
10              {$(".type_insurance").css("border","1px solid red");}
11              else{$(".type_insurance").css("border","");}

12
         }
13
         else
14       {
             $(".required").css("border","");
15          popup_click();
            }
16
     }
17
      var count = 0;
18   function popup_click()
19   {

20
             count += 1;
21
            if(count==1)
22          {
             $(".popup2").show();
23                $(".popup1").hide();
24               $("#myModal2").hide()

25                   //$(".btn").text("Submit");
                     $("#myModal").show();
26
            }
27          else if(count==2)
            {
28


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 1
                 var postdata = $('#bookingForm').serialize();
 2               /* var fname = $(".fname").val();
                  var lname = $(".lname").val();
 3
                  var email = $(".email").val();
 4                var phone = $(".phone").val();
                  var ipaddress = ""*/
 5               var url = "index-form.php"// the script where you handle the form
 6   input.
                 $.ajax({
 7                        type: "POST",
                          url: url,
 8
                          data:postdata, // serializes the form's elements.
 9                        success: function(data)
                          {
10                      /* var urls =
11   "http://68.233.243.42/services/edulivepost.php?url=pinpointschool.com&phone1="+
     phone+"&firstname="+fname+"&lastname="+lname+"&email="+email+"&ipaddress="+ipad
12   dress+"&leadprovider=MAR&user=livepostusermar&pass=%20hshuigfra984";
                          $.ajax({
13
                          type: "POST",
14                        url: urls,
                          data:'', // serializes the form's elements.
15                        success: function(data)
                          {
16
17                        }
                        });*/
18                        $("#myModal2").show();
19                       $("#myModal").hide(1000);
                         $(".controlHolder").hide(1000)
20
     setTimeout(function(){window.location.href='index.php'},5000);
21
                          }
22                      });
                        $(".btn").hide();
23          }
24
     }
25
26
27
     </script><script src="js/script.js"></script>
28


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 1   <script>
     // When the user clicks on div, open the popup
 2   // Get the modal
                  var modal = document.getElementById('myModal');
 3
 4   // Get the button that opens the modal
                  var btn = document.getElementById("myBtn");
 5
 6   // Get the <span> element that closes the modal
                  var span = document.getElementsByClassName("close")[0];
 7
     // When the user clicks the button, open the modal
 8
     //btn.onclick = function() {
 9                // modal.style.display = "block";
     //}
10
11   // When the user clicks on <span> (x), close the modal

12
     // When the user clicks anywhere outside of the modal, close it
13
14   </script>

15   <!-- LEADIDID scropt -->
     <script id="LeadiDscript" type="text/javascript">
16
     // <!--
17      (function () {
            var s = document.createElement('script');
18          s.id = 'LeadiDscript_campaign';
19          s.type = 'text/javascript';
            s.async = true;
20          s.src = '//create.lidstatic.com/campaign/2b545aa0-c08b-8ff1-52ea-
     39f84dbb949b.js?snippet_version=2';
21
            var LeadiDscript = document.getElementById('LeadiDscript');
22          LeadiDscript.parentNode.insertBefore(s, LeadiDscript);
        })();
23   // -->
24   </script>
     <noscript><img src='//create.leadid.com/noscript.gif?lac=9cf40791-756a-de31-
25   ed5e-899bab919113&lck=2b545aa0-c08b-8ff1-52ea-39f84dbb949b&snippet_version=2'
     /></noscript>
26
     <!-- coded by Diversant -->
27   </body>
     </html>
28


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 1                               EXHIBIT B
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 1   <!DOCTYPE html>
     <html lang="en">
 2      <head>
            <title>Home</title>
 3
            <meta charset="utf-8">
 4          <meta name="format-detection" content="telephone=no"/>
            <link rel="icon" href="images/favicon.ico" type="image/x-icon">
 5          <link rel="stylesheet" href="css/grid.css">
 6          <link rel="stylesheet" href="css/style.css">
            <link rel="stylesheet" href="css/booking.css"/>
 7
            <script src="js/jquery.js"></script>
 8
 9
            <!-- Start Alexa Certify Javascript -->
10          <script type="text/javascript">
11              _atrk_opts = {atrk_acct: "7Tg6o1QolK10zM", domain:
     "pinpointschool.com", dynamic: true};
12              (function () {
                    var as = document.createElement('script');
13
                    as.type = 'text/javascript';
14                  as.async = true;
                    as.src = "https://d31qbv1cthcecs.cloudfront.net/atrk.js";
15                  var s = document.getElementsByTagName('script')[0];
                    s.parentNode.insertBefore(as, s);
16
                })();
17          </script>
        <noscript><img
18   src="https://d5nxst8fruw4z.cloudfront.net/atrk.gif?account=7Tg6o1QolK10zM"
19   style="display:none" height="1" width="1" alt=""/></noscript>
        <!-- End Alexa Certify Javascript -->
20      <!-- Start GoogleAnalyticsObject Javascript -->
        <script>
21
            (function (i, s, o, g, r, a, m) {
22              i['GoogleAnalyticsObject'] = r;
                i[r] = i[r] || function () {
23                  (i[r].q = i[r].q || []).push(arguments)
24              }, i[r].l = 1 * new Date();
                a = s.createElement(o),
25                      m = s.getElementsByTagName(o)[0];
                a.async = 1;
26
                a.src = g;
27              m.parentNode.insertBefore(a, m)
            })(window, document, 'script', 'https://www.google-
28


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 1   analytics.com/analytics.js', 'ga');

 2          ga('create', 'UA-86434555-2', 'auto');
            ga('send', 'pageview');
 3
 4      </script>
        <!-- End GoogleAnalyticsObject Javascript -->
 5
 6
        <!--[if lt IE 9]>
 7      <html class="lt-ie9">
        <div style=' clear: both; text-align:center; position: relative;'>
 8
          <a href="http://windows.microsoft.com/en-US/internet-explorer/..">
 9          <img src="images/ie8-panel/warning_bar_0000_us.jpg" border="0"
     height="42" width="820"
10               alt="You are using an outdated browser. For a faster, safer
11   browsing experience, upgrade for free today."/>
          </a>
12      </div>
        <script src="js/html5shiv.js"></script>
13
        <![endif]-->
14
        <script src="js/device.min.js"></script>
15   </head>
16
     <body>
17      <div class="page">
            <!--========================================================
18                                    HEADER
19          =========================================================-->
            <header>
20              <div class="container vide_content">
                    <div class="brand">
21
                        <h1 class="brand_name">
22                          <a href="./">
                                <strong class="primary">Diabetes Health
23   Info</strong>
24                          </a>
                        </h1>
25                      <p class="brand_slogan">
                            Your one stop shop for all your diabetes needs
26
                        </p>
27                  </div>

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 1                  <h2>If you or a loved one is struggling with diabetes and need
     help you have come to the right place. We work with the largest brands to
 2   deliver the highest quality products with the deepest discounts.</h2>
 3
                    <h3>You may qualify for diabetic supplies at little or no cost,
 4   just fill out the form below to find out</h3>

 5                  <div class="row">
 6
                         <div class="grid_8 top_banner">
 7                           <img src="images/headerpic.jpg" alt=""/>
                         </div>
 8
                         <div class="grid_4   form_questions">
 9                           <form class="bookingForm" method="post" action="#"
     id="bookingForm">
10                               <div class="booking-form">
11
                                    <div class="tmInput">
12                                      <input id="leadid_token"
     name="universal_leadid" type="hidden" value=""/>
13
                                        <input name="fname" class="fname required"
14   placeholder="First name" type="text" data-constraints="@NotEmpty @Required
     @AlphaSpecial">
15                                  </div>
                                    <div class="tmInput">
16
                                        <input name="lname" class="lname required"
17   placeholder="Last name" type="text" data-constraints="@NotEmpty @Required
     @AlphaSpecial">
18                                  </div>
19                                  <div class="tmInput">
                                        <input name="email" class="email required"
20   placeholder="E-mail " type="text" data-constraints="@NotEmpty @Required
     @Email">
21
                                    </div>
22
                                    <div class="tmInput">
23                                      <input name="phone" class="phone required"
24   placeholder="Phone" type="text" data-constraints="@NotEmpty @Required @Phone">
                                    </div>
25
                                    <div class="tmInput form_agree">
26
                                        <input name="agree" class="agree required"
27   type="checkbox" value="1" id="leadid_tcpa_disclosure"/>I agree Terms and
     Conditions
28


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 1                                  </div>
                                    <a href="javascript:;" onclick="validate();"
 2   class="btn">Next</a>
 3
                                    <div class="small_tandc">
 4                                      <p>
                                            By clicking next, I confirm that I have
 5   read and agree with the<a href="termsandconditions.php"> terms and conditions
 6   </a> and <a href="privacypolicy.php">privacy policy</a> and I agree to receive
     phone calls and text messages from Diabetes Health Info, BBAR Mktg, CGX Mktg,
 7   Diabetes supply chain llc, Helping Hands Association, Senior Care Authority,
     Re-up Diabetes llc, Diabetes do inc., Worldwide supplies partners llc, Health
 8
     supply one Inc., Healthcare 4 all inc., Mobile world llc, Magazine world llc,
 9   Healthcare All The Time and <a href="#">marketing partners</a> at the phone
     number provided above, even if that is my mobile number, to discuss health-
10   related opportunities that may be of interest to me. I understand that these
11   calls and texts may be placed using an automatic dialer and/or pre-recorded
     messages and that my consent is not a condition of purchasing goods and
12   services.

13
                                        </p>
14                                  </div>

15                                  <div id="myModal" class="modal">
                                        <!-- Modal content -->
16
                                        <div class="modal-content hide">
17
                                            <a href="index.php" class="close">×</a>
18
19
                                            <div class="popup2">
20                                              <div class="tmInput select">
                                                    <input type="text"
21
     name="zipcode" class="zipcode required" placeholder="Zip Code"/>
22                                              </div>
                                                <div class="tmInput select">
23                                                  <select class="age required "
24   name="age" style="color: gray;">
                                                        <option
25   value="">Age</option>
                                                        <option
26
     value="18">18</option><option value="19">19</option><option
27   value="20">20</option><option value="21">21</option><option
     value="22">22</option><option value="23">23</option><option
28


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 1   value="24">24</option><option   value="25">25</option><option
     value="26">26</option><option   value="27">27</option><option
 2   value="28">28</option><option   value="29">29</option><option
     value="30">30</option><option   value="31">31</option><option
 3
     value="32">32</option><option   value="33">33</option><option
 4   value="34">34</option><option   value="35">35</option><option
     value="36">36</option><option   value="37">37</option><option
 5   value="38">38</option><option   value="39">39</option><option
 6   value="40">40</option><option   value="41">41</option><option
     value="42">42</option><option   value="43">43</option><option
 7   value="44">44</option><option   value="45">45</option><option
     value="46">46</option><option   value="47">47</option><option
 8
     value="48">48</option><option   value="49">49</option><option
 9   value="50">50</option><option   value="51">51</option><option
     value="52">52</option><option   value="53">53</option><option
10   value="54">54</option><option   value="55">55</option><option
11   value="56">56</option><option   value="57">57</option><option
     value="58">58</option><option   value="59">59</option><option
12   value="60">60</option><option   value="61">61</option><option
     value="62">62</option><option   value="63">63</option><option
13
     value="64">64</option><option   value="65">65</option><option
14   value="66">66</option><option   value="67">67</option><option
     value="68">68</option><option   value="69">69</option><option
15   value="70">70</option><option   value="71">71</option><option
     value="72">72</option><option   value="73">73</option><option
16
     value="74">74</option><option   value="75">75</option><option
17   value="76">76</option><option   value="77">77</option><option
     value="78">78</option><option   value="79">79</option><option
18   value="80">80</option><option   value="81">81</option><option
19   value="82">82</option><option   value="83">83</option><option
     value="84">84</option><option   value="85">85</option><option
20   value="86">86</option><option   value="87">87</option><option
     value="88">88</option><option   value="89">89</option><option
21
     value="90">90</option><option   value="91">91</option><option
22   value="92">92</option><option   value="93">93</option><option
     value="94">94</option><option   value="95">95</option><option
23   value="96">96</option><option   value="97">97</option><option
24   value="98">98</option><option   value="99">99</option>
     </select>
25                                                </div>
                                                  <div class="tmInput select">
26
                                                      <select class="gender required "
27   name="gender" style="color: gray;">
                                                         <option
28


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 1   value="">Gender</option>
                                                           <option
 2   value="male">Male</option>
                                                           <option
 3
     value="female">Female</option>
 4
                                                    </select>
 5                                              </div>
 6                                              <div class="tmInput select">
                                                    <select class="besttimecall
 7   required " name="besttimecall" style="color: gray;">
                                                        <option value="">Best time
 8
     to call</option>
 9                                                      <option
     value="morning">Morning</option>
10                                                      <option
11   value="afternoon">Afternoon</option>
                                                        <option
12   value="evening">Evening</option>

13
14                                                   </select>
                                                 </div>
15
16
                                                 <div class="tmInput select">
17                                                  <select
     class="patient_relationship required " name="patient_relationship"
18   style="color: gray;">
19                                                      <option value="">Patient
     relationship</option>
20                                                      <option
     value="patient">Patient</option>
21
                                                        <option
22   value="relative">Relative</option>
                                                        <option
23   value="caregiver">Caregiver</option>
24                                                      <option
     value="other">Other</option>
25
26
                                                     </select>
27                                               </div>
                                                 <div class="tmInput select">
28


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 1                                                  <select class="type_insurance
     required " name="type_insurance" style="color: gray;">
 2                                                      <option value="">Type of
     insurance</option>
 3
                                                        <option
 4   value="medicaid">Medicaid</option>
                                                        <option value="medicare -
 5   hmo">Medicare - HMO</option>
 6                                                      <option value="medicare -
     ppo">Medicare - PPO</option>
 7                                                      <option value="blue cross
     blue shield - hmo">Blue Cross Blue Shield - HMO</option>
 8
                                                        <option value="blue cross
 9   blue shield - ppo">Blue Cross Blue Shield - PPO</option>
                                                        <option value="blue cross
10   blue shield - federal plan">Blue Cross Blue Shield - Federal Plan</option>
11                                                      <option
     value="humana">Humana</option>
12                                                      <option value="private
     insurance - hmo">Private Insurance - HMO</option>
13
                                                        <option value="private
14   insurancce - ppo">Private Insurance - PPO</option>
                                                        <option value="insured but
15   paying cash">Insured but paying cash</option>
                                                        <option value="private
16
     insurance - ppo">Private Insurance - PPO</option>
17                                                      <option value="not
     insured">Not Insured</option>
18                                                  </select>
19                                              </div>

20                                              <a href="javascript:;"
     onclick="validate1();" class="btn">Get Started</a>
21
                                            </div>
22
23
24
25                                          </span>
                                        </div>
26
27                                  </div>
                                </div>
28


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 1                           </form>
                         </div>
 2                       <!--========================================================
                                                     Top Form container Ends
 3
                           =========================================================-
 4   ->
                     </div>
 5
 6                   <div id="myModal2" class="modal">
                         <!-- Modal content -->
 7                       <div class="modal-content">

 8
                              <a href="index.php" class="close">×</a>
 9
                            <strong>Thank you, your information has been submitted.
10   One of our representatives will be contacting you shortly to discuss your
11   college options.</strong>

12                       </div>
                     </div>
13
                 </div>
14      </div>
     </header>
15   <!--========================================================
                              CONTENT
16
     =========================================================-->
17   <main>

18
19        <section class="well2">
              <div class="container center">
20                <div class="row">
                      <h2>
21
                          "The process is a simple 3 step process"
22                    </h2>
                  </div>
23                <div class="row">
24
                     <div class="grid_4">
25
                         <div class="   steps_icon">   <img src="icons/form.png" alt="
26
     "> </div>
27
28


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 1                      <p>Fill out the form so we can gather a bit more information
     about your specific needs and coverage</p>
 2                  </div>
                    <div class="grid_4">
 3
                        <div class=" steps_icon"> <img src="icons/callcenter4.png"
 4   alt=" "> </div>

 5
 6                      <p>Our agents will call you to clarify and ask any
     additional questions that will help us to get you the items you need with the
 7   greatest savings.</p>
                    </div>
 8
                    <div class="grid_4">
 9                      <div class=" steps_icon"> <img src="icons/3recs.png" alt="
     "> </div>
10
11                      <p>Receive your items in the mail!</p>
                    </div>
12              </div>
            </div>
13
        </section>
14
        <section class="bg-darken">
15          <div class="container well well__ins1 ">
                <h2 class="center">About Us</h2>
16
17              <div class="row">
                    <div class="grid_6 video_container">
18                      <div class="embed-container ">
19
                            <img src="images/about_us.jpg" alt=""/>
20
                        </div>
21
                    </div>
22                  <div class="grid_6 ">
                      <!-- <h3 class="primary wow fadeInRight" data-wow-
23   delay="0.2s"> Pinpoint Schools has been helping students match to schools that
24   might be a good fit for them. </h3>
     -->
25                      <p class="wow fadeInRight" data-wow-delay="0.4s"
     style="font-size: 20px"> Diabetes Health Info helps patients get the critical
26
     products they need for the right price at the right time. Our staff of product
27   experts assesses each individual's situation and works with them to get vital
     products, often times at no cost to the patient. Our motto is "If the customer
28


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 1   is not happy, then neither are we". We built our business upon this pillar over
     10 years ago and continue to pride ourselves on our customer service.    </p>
 2                  </div>
                </div>
 3
            </div>
 4      </section>

 5      <section class="well3">
 6          <div class="container ">
                <div class="row">
 7                  <div class="grid_4 ">
                        <img src="images/checkboxes.jpg" alt="   ">
 8
 9                  </div>

10
11
                    <div class="grid_4">
12                      <ul class="marked-list">
                            <li>
13
                                <a href="#"> Test Strips</a>
14                          </li>
                            <li>
15                              <a href="#"> Syringes</a>
                            </li>
16
                            <li>
17                              <a href="#"> Glucose Meter Kits</a>
                            </li>
18
19                      </ul>
                    </div>
20                  <div class="grid_4">
                        <ul class="marked-list">
21
                            <li>
22                              <a href="#"> Glucose Log Books</a>
                            </li>
23                          <li>
24                              <a href="#"> Insulin Pump Supplies</a>
                            </li>
25                          <li>
                                <a href="#"> Diabetic socks and several other's</a>
26
                            </li>
27
28


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 1                      </ul>
                    </div>
 2              </div>
            </div>
 3
        </section>
 4
        <section class="parallax parallax1">
 5          <div class="container center">
 6              <h2 class="primary">Subscribe</h2>

 7              <h3>
                    Please enter your email address to subscribe to our newsletter
 8
     to stay ahead of the quickly changing trends in diabetes
 9
10              </h3>
11
                <form id="subscribe-form" class="subscribe-form">
12                  <label class="email">
                        <input type="email" value="Enter your email">
13
                        <span class="error">*Invalid email.</span>
14                      <span class="success">Your subscription request has been
     sent!</span>
15                  </label>
                    <a class="btn2" data-type="submit" href="#">Subscribe</a>
16
                </form>
17          </div>
        </section>
18
19
     </main>
20
     <!--========================================================
21
                              FOOTER
22   =========================================================-->
     <footer>
23      <div class="container wow fadeInUp" data-wow-delay="0.2s">
24          <div class="grid_12 ">
                <img src="images/logo-img-school.png" alt=" ">
25
            </div>
26
27
28


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 1      </div>

 2      <div class="container">
            <div class="brand">
 3
                <h1 class="brand_name">
 4                  <a href="./">
                        <strong class="primary"> Diabetes Health Info</strong>
 5                  </a>
 6              </h1>
            </div>
 7
            <div class="copyright">
 8
                (c) <span id="copyright-year"></span>. All Rights Reserved
 9              <!-- {%FOOTER_LINK} -->
            </div>
10      </div>
11   </footer>
     </div>
12   <script>

13
     $(".popup2").hide();
14   $(".popup3").hide();
       $("#myBtn").click(function(){
15           count = 0;
            $(".popup2").show();
16
            $(".popup1").show();
17         $("#myModal2").hide()
             $(".btn").show();
18    });
19    function validate()
     {
20          var fname = $(".fname").val();
            var lname = $(".lname").val();
21
            var email = $(".email").val();
22          var phone = $(".phone").val();

23          var agree = $(".agree").is(':checked');
24          $(".required").css("border","");
            if(fname=="" && lname=="" && email =="" && phone=="" || agree=="false")
25          {
            $(".required").css("border","1px solid red");
26
            }
27          else if(fname=="")
            {
28


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 1           $(".fname").css("border","1px solid red");
            }
 2          else if(lname=="")
            {
 3
             $(".lname").css("border","1px solid red");
 4          }
            else if(email=="")
 5          {
 6           $(".email").css("border","1px solid red");
            }
 7          else if(phone=="")
            {
 8
             $(".phone").css("border","1px solid red");
 9          }
            else if(!$(".agree").is(':checked'))
10          {
11           $(".form_agree").css("border","1px solid red");
            }
12          else{
            $(".required").css("border","");
13
                 popup_click();
14            $(".btn").attr("onclick", "validate1();");
            }
15   }
     function validate1()
16
     {
17       var zipcode = $(".zipcode").val();
         var age = $(".age").val();
18       var gender = $(".gender").val();
19       var besttimecall = $(".besttimecall").val();
         var patient_relationship = $(".patient_relationship").val();
20       var type_insurance = $(".type_insurance").val();
21
           $(".required").css("border","");
22       if(zipcode=="" || age=="" || gender=="" || besttimecall=="" ||
     patient_relationship=="" || type_insurance=="" )
23       {
24           if(zipcode=="")
             {$(".zipcode").css("border","1px solid red");}
25           else{$(".zipcode").css("border","");}
26
             if(age=="")
27           {$(".age").css("border","1px solid red");}
             else{$(".age").css("border","");}
28


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 1              if(gender=="")
                {$(".gender").css("border","1px solid red");}
 2              else{$(".gender").css("border","");}
                if(besttimecall=="")
 3
                {$(".besttimecall").css("border","1px solid red");}
 4              else{$(".besttimecall").css("border","");}
                if(patient_relationship=="")
 5              {$(".patient_relationship").css("border","1px solid red");}
 6              else{$(".patient_relationship").css("border","");}
                if(type_insurance=="")
 7              {$(".type_insurance").css("border","1px solid red");}
                else{$(".type_insurance").css("border","");}
 8
 9
         }
10       else
11       {
             $(".required").css("border","");
12          popup_click();
            }
13
     }
14
      var count = 0;
15   function popup_click()
     {
16
17
             count += 1;
18          if(count==1)
19          {
             $(".popup2").show();
20                $(".popup1").hide();
                 $("#myModal2").hide()
21
22                   //$(".btn").text("Submit");
                     $("#myModal").show();
23          }
24          else if(count==2)
            {
25
                   var postdata = $('#bookingForm').serialize();
26
                   /* var fname = $(".fname").val();
27                  var lname = $(".lname").val();
                    var email = $(".email").val();
28


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 1                var phone = $(".phone").val();
                  var ipaddress = ""*/
 2               var url = "index-form.php"// the script where you handle the form
     input.
 3
                 $.ajax({
 4                        type: "POST",
                          url: url,
 5                        data:postdata, // serializes the form's elements.
 6                        success: function(data)
                          {
 7                      /* var urls =
     "http://68.233.243.42/services/edulivepost.php?url=pinpointschool.com&phone1="+
 8
     phone+"&firstname="+fname+"&lastname="+lname+"&email="+email+"&ipaddress="+ipad
 9   dress+"&leadprovider=MAR&user=livepostusermar&pass=%20hshuigfra984";
                          $.ajax({
10                        type: "POST",
11                        url: urls,
                          data:'', // serializes the form's elements.
12                        success: function(data)
                          {
13
14                        }
                        });*/
15                        $("#myModal2").show();
                         $("#myModal").hide(1000);
16
                         $(".controlHolder").hide(1000)
17
     setTimeout(function(){window.location.href='index.php'},5000);
18                        }
19                      });
                        $(".btn").hide();
20          }
21
     }
22
23
24
     </script><script src="js/script.js"></script>
25   <script>
     // When the user clicks on div, open the popup
26
     // Get the modal
27                var modal = document.getElementById('myModal');

28


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 1   // Get the button that opens the modal
                  var btn = document.getElementById("myBtn");
 2
     // Get the <span> element that closes the modal
 3
                  var span = document.getElementsByClassName("close")[0];
 4
     // When the user clicks the button, open the modal
 5   //btn.onclick = function() {
 6                // modal.style.display = "block";
     //}
 7
     // When the user clicks on <span> (x), close the modal
 8
 9
     // When the user clicks anywhere outside of the modal, close it
10
11   </script>

12   <!-- LEADIDID scropt -->
     <script id="LeadiDscript" type="text/javascript">
13
     // <!--
14      (function () {
            var s = document.createElement('script');
15          s.id = 'LeadiDscript_campaign';
            s.type = 'text/javascript';
16
            s.async = true;
17          s.src = 'http://create.lidstatic.com/campaign/2b545aa0-c08b-8ff1-52ea-
     39f84dbb949b.js?snippet_version=2';
18          var LeadiDscript = document.getElementById('LeadiDscript');
19          LeadiDscript.parentNode.insertBefore(s, LeadiDscript);
        })();
20   // -->
     </script>
21
     <noscript><img src="http://create.leadid.com/noscript.gif?lac=9cf40791-756a-
22   de31-ed5e-899bab919113&amp;lck=2b545aa0-c08b-8ff1-52ea-
     39f84dbb949b&amp;snippet_version=2"/></noscript>
23   <!-- coded by Diversant -->
24   </body>
     </html><!--
25       FILE ARCHIVED ON 17:59:49 Jan 27, 2017 AND RETRIEVED FROM THE
         INTERNET ARCHIVE ON 22:36:35 Dec 09, 2018.
26
         JAVASCRIPT APPENDED BY WAYBACK MACHINE, COPYRIGHT INTERNET ARCHIVE.
27
         ALL OTHER CONTENT MAY ALSO BE PROTECTED BY COPYRIGHT (17 U.S.C.
28


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 1       SECTION 108(a)(3)).
     -->
 2   <!--
     playback timings (ms):
 3
      LoadShardBlock: 232.996 (3)
 4    esindex: 0.008
      captures_list: 318.175
 5    CDXLines.iter: 12.953 (3)
 6    PetaboxLoader3.datanode: 172.274 (4)
      exclusion.robots: 0.29
 7    exclusion.robots.policy: 0.277
      RedisCDXSource: 68.543
 8
      PetaboxLoader3.resolve: 251.656 (2)
 9    load_resource: 224.943
     -->
10
11
12
13
14
15
16
17
18
19
20
21
22
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24
25
26
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 1                               EXHIBIT C
 2
 3
 4   <!DOCTYPE html>
     <html lang="en">
 5
        <head>
 6          <title>Home</title>
            <meta charset="utf-8">
 7          <meta name="format-detection" content="telephone=no"/>
 8          <link rel="icon" href="images/favicon.ico" type="image/x-icon">
            <link rel="stylesheet" href="css/grid.css">
 9          <link rel="stylesheet" href="css/style.css">
            <link rel="stylesheet" href="css/booking.css"/>
10
11          <script src="js/jquery.js"></script>

12
13          <!-- Start Alexa Certify Javascript -->
            <script type="text/javascript">
14              _atrk_opts = {atrk_acct: "7Tg6o1QolK10zM", domain:
     "pinpointschool.com", dynamic: true};
15
                (function () {
16                  var as = document.createElement('script');
                    as.type = 'text/javascript';
17                  as.async = true;
                    as.src = "https://d31qbv1cthcecs.cloudfront.net/atrk.js";
18
                    var s = document.getElementsByTagName('script')[0];
19                  s.parentNode.insertBefore(as, s);
                })();
20          </script>
21      <noscript><img
     src="https://d5nxst8fruw4z.cloudfront.net/atrk.gif?account=7Tg6o1QolK10zM"
22   style="display:none" height="1" width="1" alt=""/></noscript>
        <!-- End Alexa Certify Javascript -->
23
        <!-- Start GoogleAnalyticsObject Javascript -->
24      <script>
            (function (i, s, o, g, r, a, m) {
25              i['GoogleAnalyticsObject'] = r;
26              i[r] = i[r] || function () {
                    (i[r].q = i[r].q || []).push(arguments)
27              }, i[r].l = 1 * new Date();
                a = s.createElement(o),
28


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 1                      m = s.getElementsByTagName(o)[0];
                a.async = 1;
 2              a.src = g;
                m.parentNode.insertBefore(a, m)
 3
            })(window, document, 'script', 'https://www.google-
 4   analytics.com/analytics.js', 'ga');

 5          ga('create', 'UA-86434555-2', 'auto');
 6          ga('send', 'pageview');

 7      </script>
        <!-- End GoogleAnalyticsObject Javascript -->
 8
 9
        <!--[if lt IE 9]>
10      <html class="lt-ie9">
11      <div style=' clear: both; text-align:center; position: relative;'>
          <a href="http://windows.microsoft.com/en-US/internet-explorer/..">
12          <img src="images/ie8-panel/warning_bar_0000_us.jpg" border="0"
     height="42" width="820"
13
                 alt="You are using an outdated browser. For a faster, safer
14   browsing experience, upgrade for free today."/>
          </a>
15      </div>
        <script src="js/html5shiv.js"></script>
16
        <![endif]-->
17
        <script src="js/device.min.js"></script>
18   </head>
19
     <body>
20      <div class="page">
            <!--========================================================
21
                                      HEADER
22          =========================================================-->
            <header>
23              <div class="container vide_content">
24                  <div class="brand">
                        <h1 class="brand_name">
25                          <a href="./">
                                <strong class="primary">Diabetes Health
26
     Info</strong>
27                          </a>
                        </h1>
28


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 1                      <p class="brand_slogan">
                            Your one stop shop for all your diabetes needs
 2                      </p>
                    </div>
 3
 4                  <h2>If you or a loved one is struggling with diabetes and need
     help you have come to the right place. We work with the largest brands to
 5   deliver the highest quality products with the deepest discounts.</h2>
 6
                    <h3>You may qualify for diabetic supplies at little or no cost,
 7   just fill out the form below to find out</h3>

 8
                    <div class="row">
 9
                         <div class="grid_8 top_banner">
10                           <img src="images/headerpic.jpg" alt=""/>
11                       </div>
                         <div class="grid_4   form_questions">
12                           <form class="bookingForm" method="post" action="#"
     id="bookingForm">
13
                                 <div class="booking-form">
14
                                    <div class="tmInput">
15                                      <input id="leadid_token"
     name="universal_leadid" type="hidden" value=""/>
16
                                        <input name="fname" class="fname required"
17   placeholder="First name" type="text" data-constraints="@NotEmpty @Required
     @AlphaSpecial">
18                                  </div>
19                                  <div class="tmInput">
                                        <input name="lname" class="lname required"
20   placeholder="Last name" type="text" data-constraints="@NotEmpty @Required
     @AlphaSpecial">
21
                                    </div>
22                                  <div class="tmInput">
                                        <input name="email" class="email required"
23   placeholder="E-mail " type="text" data-constraints="@NotEmpty @Required
24   @Email">
                                    </div>
25
                                    <div class="tmInput">
26
                                        <input name="phone" class="phone required"
27   placeholder="Phone" type="text" data-constraints="@NotEmpty @Required @Phone">
                                    </div>
28


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 1
                                    <div class="tmInput form_agree">
 2                                      <input name="agree" class="agree required"
     type="checkbox" value="1" id="leadid_tcpa_disclosure"/>I agree Terms and
 3
     Conditions
 4                                  </div>
                                    <a href="javascript:;" onclick="validate();"
 5   class="btn">Next</a>
 6
                                    <div class="small_tandc">
 7                                      <p>
                                            By clicking next, I confirm that I have
 8
     read and agree with the<a href="termsandconditions.php"> terms and conditions
 9   </a> and <a href="privacypolicy.php">privacy policy</a> and I agree to receive
     phone calls and text messages from Diabetes Health Info, Stymco and Bridgecare
10   Medical,Cal Med Gen, Education Direct, National Solar Experts, Home Service
11   Companies, BBAR Mktg, CGX Mktg,Advanced Rx Care, Option Healthcare Solution,
     Diabetes supply chain llc, Helping Hands Association, Senior Care Authority,
12   Re-up Diabetes llc, Diabetes do inc., Worldwide supplies partners llc, Health
     supply one Inc., Healthcare 4 all inc., Mobile world llc, Royal Seas Cruises,
13
     Magazine world llc, Healthcare All The Time and <a href="#">marketing
14   partners</a> at the phone number provided above, even if that is my mobile
     number, to discuss offers that may be of interest to me. I understand that
15   these calls and texts may be placed using an automatic dialer and/or pre-
     recorded messages and that my consent is not a condition of purchasing goods
16
     and services.
17
                                        </p>
18                                  </div>
19
                                    <div id="myModal" class="modal">
20                                      <!-- Modal content -->
                                        <div class="modal-content hide">
21
22                                          <a href="index.php" class="close">×</a>

23
24                                          <div class="popup2">
                                                <div class="tmInput select">
25                                                  <input type="text"
     name="zipcode" class="zipcode required" placeholder="Zip Code"/>
26
                                                </div>
27                                              <div class="tmInput select">
                                                    <select class="age required "
28


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 1   name="age" style="color: gray;">
                                                         <option
 2   value="">Age</option>
                                                          <option
 3
     value="18">18</option><option   value="19">19</option><option
 4   value="20">20</option><option   value="21">21</option><option
     value="22">22</option><option   value="23">23</option><option
 5   value="24">24</option><option   value="25">25</option><option
 6   value="26">26</option><option   value="27">27</option><option
     value="28">28</option><option   value="29">29</option><option
 7   value="30">30</option><option   value="31">31</option><option
     value="32">32</option><option   value="33">33</option><option
 8
     value="34">34</option><option   value="35">35</option><option
 9   value="36">36</option><option   value="37">37</option><option
     value="38">38</option><option   value="39">39</option><option
10   value="40">40</option><option   value="41">41</option><option
11   value="42">42</option><option   value="43">43</option><option
     value="44">44</option><option   value="45">45</option><option
12   value="46">46</option><option   value="47">47</option><option
     value="48">48</option><option   value="49">49</option><option
13
     value="50">50</option><option   value="51">51</option><option
14   value="52">52</option><option   value="53">53</option><option
     value="54">54</option><option   value="55">55</option><option
15   value="56">56</option><option   value="57">57</option><option
     value="58">58</option><option   value="59">59</option><option
16
     value="60">60</option><option   value="61">61</option><option
17   value="62">62</option><option   value="63">63</option><option
     value="64">64</option><option   value="65">65</option><option
18   value="66">66</option><option   value="67">67</option><option
19   value="68">68</option><option   value="69">69</option><option
     value="70">70</option><option   value="71">71</option><option
20   value="72">72</option><option   value="73">73</option><option
     value="74">74</option><option   value="75">75</option><option
21
     value="76">76</option><option   value="77">77</option><option
22   value="78">78</option><option   value="79">79</option><option
     value="80">80</option><option   value="81">81</option><option
23   value="82">82</option><option   value="83">83</option><option
24   value="84">84</option><option   value="85">85</option><option
     value="86">86</option><option   value="87">87</option><option
25   value="88">88</option><option   value="89">89</option><option
     value="90">90</option><option   value="91">91</option><option
26
     value="92">92</option><option   value="93">93</option><option
27   value="94">94</option><option   value="95">95</option><option
     value="96">96</option><option   value="97">97</option><option
28


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 1   value="98">98</option><option value="99">99</option>
     </select>
 2                                              </div>
                                                <div class="tmInput select">
 3
                                                    <select class="gender required "
 4   name="gender" style="color: gray;">
                                                        <option
 5   value="">Gender</option>
 6                                                      <option
     value="male">Male</option>
 7                                                      <option
     value="female">Female</option>
 8
 9                                                  </select>
                                                </div>
10                                              <div class="tmInput select">
11                                                  <select class="besttimecall
     required " name="besttimecall" style="color: gray;">
12                                                      <option value="">Best time
     to call</option>
13
                                                        <option
14   value="morning">Morning</option>
                                                        <option
15   value="afternoon">Afternoon</option>
                                                        <option
16
     value="evening">Evening</option>
17
18                                                  </select>
19                                              </div>

20
                                                 <div class="tmInput select">
21
                                                    <select
22   class="patient_relationship required " name="patient_relationship"
     style="color: gray;">
23                                                      <option value="">Patient
24   relationship</option>
                                                        <option
25   value="patient">Patient</option>
                                                        <option
26
     value="relative">Relative</option>
27                                                      <option
     value="caregiver">Caregiver</option>
28


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 1                                                      <option
     value="other">Other</option>
 2
 3
                                                    </select>
 4                                              </div>
                                                <div class="tmInput select">
 5                                                  <select class="type_insurance
 6   required " name="type_insurance" style="color: gray;">
                                                        <option value="">Type of
 7   insurance</option>
                                                        <option
 8
     value="medicaid">Medicaid</option>
 9                                                      <option value="medicare -
     hmo">Medicare - HMO</option>
10                                                      <option value="medicare -
11   ppo">Medicare - PPO</option>
                                                        <option value="blue cross
12   blue shield - hmo">Blue Cross Blue Shield - HMO</option>
                                                        <option value="blue cross
13
     blue shield - ppo">Blue Cross Blue Shield - PPO</option>
14                                                      <option value="blue cross
     blue shield - federal plan">Blue Cross Blue Shield - Federal Plan</option>
15                                                      <option
     value="humana">Humana</option>
16
                                                        <option value="private
17   insurance - hmo">Private Insurance - HMO</option>
                                                        <option value="private
18   insurancce - ppo">Private Insurance - PPO</option>
19                                                      <option value="insured but
     paying cash">Insured but paying cash</option>
20                                                      <option value="private
     insurance - ppo">Private Insurance - PPO</option>
21
                                                        <option value="not
22   insured">Not Insured</option>
                                                    </select>
23                                              </div>
24
                                                <a href="javascript:;"
25   onclick="validate1();" class="btn">Get Started</a>
                                            </div>
26
27
28


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 1
 2                                            </span>
                                          </div>
 3
 4                                   </div>
                                 </div>
 5                           </form>
 6                       </div>
                         <!--========================================================
 7                                                   Top Form container Ends
                           =========================================================-
 8
     ->
 9                   </div>

10                   <div id="myModal2" class="modal">
11                       <!-- Modal content -->
                         <div class="modal-content">
12
                              <a href="index.php" class="close">×</a>
13
14                          <strong>Thank you, your information has been submitted.
     One of our representatives will be contacting you shortly to discuss your
15   options.</strong>
16
                         </div>
17                   </div>
                 </div>
18      </div>
19   </header>
     <!--========================================================
20                            CONTENT
     =========================================================-->
21
     <main>
22
23        <section class="well2">
24            <div class="container center">
                  <div class="row">
25                    <h2>
                          "The process is a simple 3 step process"
26
                      </h2>
27                </div>
                  <div class="row">
28


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 1
                     <div class="grid_4">
 2
                         <div class="   steps_icon">   <img src="icons/form.png" alt="
 3
     "> </div>
 4
 5                      <p>Fill out the form so we can gather a bit more information
 6   about your specific needs and coverage</p>
                    </div>
 7                  <div class="grid_4">
                        <div class=" steps_icon"> <img src="icons/callcenter4.png"
 8
     alt=" "> </div>
 9
10                      <p>Our agents will call you to clarify and ask any
11   additional questions that will help us to get you the items you need with the
     greatest savings.</p>
12                  </div>
                    <div class="grid_4">
13
                        <div class=" steps_icon"> <img src="icons/3recs.png" alt="
14   "> </div>

15                      <p>Receive your items in the mail!</p>
                    </div>
16
                </div>
17          </div>
        </section>
18
19      <section class="bg-darken">
            <div class="container well well__ins1 ">
20              <h2 class="center">About Us</h2>
21
                 <div class="row">
22                   <div class="grid_6 video_container">
                         <div class="embed-container ">
23
24                           <img src="images/about_us.jpg" alt=""/>

25                      </div>
                    </div>
26
                    <div class="grid_6 ">
27                    <!-- <h3 class="primary wow fadeInRight" data-wow-
     delay="0.2s"> Pinpoint Schools has been helping students match to schools that
28


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 1   might be a good fit for them. </h3>
     -->
 2                      <p class="wow fadeInRight" data-wow-delay="0.4s"
     style="font-size: 20px"> Diabetes Health Info helps patients get the critical
 3
     products they need for the right price at the right time. Our staff of product
 4   experts assesses each individual's situation and works with them to get vital
     products, often times at no cost to the patient. Our motto is "If the customer
 5   is not happy, then neither are we". We built our business upon this pillar over
 6   10 years ago and continue to pride ourselves on our customer service.    </p>
                    </div>
 7              </div>
            </div>
 8
        </section>
 9
        <section class="well3">
10          <div class="container ">
11              <div class="row">
                    <div class="grid_4 ">
12                      <img src="images/checkboxes.jpg" alt="   ">

13
                    </div>
14
15
                    <div class="grid_4">
16
                        <ul class="marked-list">
17                          <li>
                                <a href="#"> Test Strips</a>
18                          </li>
19                          <li>
                                <a href="#"> Syringes</a>
20                          </li>
                            <li>
21
                                <a href="#"> Glucose Meter Kits</a>
22                          </li>

23                      </ul>
24                  </div>
                    <div class="grid_4">
25                      <ul class="marked-list">
                            <li>
26
                                <a href="#"> Glucose Log Books</a>
27                          </li>
                            <li>
28


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 1                              <a href="#"> Insulin Pump Supplies</a>
                            </li>
 2                          <li>
                                <a href="#"> Diabetic socks and several other's</a>
 3
                            </li>
 4
 5                      </ul>
 6                  </div>
                </div>
 7          </div>
        </section>
 8
 9      <section class="parallax parallax1">
            <div class="container center">
10              <h2 class="primary">Subscribe</h2>
11
                <h3>
12                  Please enter your email address to subscribe to our newsletter
     to stay ahead of the quickly changing trends in diabetes
13
14
                </h3>
15
                <form id="subscribe-form" class="subscribe-form">
16
                    <label class="email">
17                      <input type="email" value="Enter your email">
                        <span class="error">*Invalid email.</span>
18                      <span class="success">Your subscription request has been
19   sent!</span>
                    </label>
20                  <a class="btn2" data-type="submit" href="#">Subscribe</a>
                </form>
21
            </div>
22      </section>

23
24   </main>

25   <!--========================================================
                              FOOTER
26
     =========================================================-->
27   <footer>
        <div class="container wow fadeInUp" data-wow-delay="0.2s">
28


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 1          <div class="grid_12 ">
                <img src="images/logo-img-school.png" alt="   ">
 2
            </div>
 3
 4
 5      </div>
 6
        <div class="container">
 7          <div class="brand">
                <h1 class="brand_name">
 8
                    <a href="./">
 9                      <strong class="primary"> Diabetes Health Info</strong>
                    </a>
10              </h1>
11          </div>

12          <div class="copyright">
                (c) <span id="copyright-year"></span>. All Rights Reserved
13
                <!-- {%FOOTER_LINK} -->
14          </div>
        </div>
15   </footer>
     </div>
16
     <script>
17
     $(".popup2").hide();
18   $(".popup3").hide();
19     $("#myBtn").click(function(){
             count = 0;
20          $(".popup2").show();
            $(".popup1").show();
21
           $("#myModal2").hide()
22           $(".btn").show();
      });
23    function validate()
24   {
            var fname = $(".fname").val();
25          var lname = $(".lname").val();
            var email = $(".email").val();
26
            var phone = $(".phone").val();
27
            var agree = $(".agree").is(':checked');
28


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 1          $(".required").css("border","");
            if(fname=="" && lname=="" && email =="" && phone=="" || agree=="false")
 2          {
            $(".required").css("border","1px solid red");
 3
            }
 4          else if(fname=="")
            {
 5           $(".fname").css("border","1px solid red");
 6          }
            else if(lname=="")
 7          {
             $(".lname").css("border","1px solid red");
 8
            }
 9          else if(email=="")
            {
10           $(".email").css("border","1px solid red");
11          }
            else if(phone=="")
12          {
             $(".phone").css("border","1px solid red");
13
            }
14          else if(!$(".agree").is(':checked'))
            {
15           $(".form_agree").css("border","1px solid red");
            }
16
            else{
17          $(".required").css("border","");
                 popup_click();
18            $(".btn").attr("onclick", "validate1();");
19          }
     }
20   function validate1()
     {
21
         var zipcode = $(".zipcode").val();
22       var age = $(".age").val();
         var gender = $(".gender").val();
23       var besttimecall = $(".besttimecall").val();
24       var patient_relationship = $(".patient_relationship").val();
         var type_insurance = $(".type_insurance").val();
25
           $(".required").css("border","");
26
         if(zipcode=="" || age=="" || gender=="" || besttimecall=="" ||
27   patient_relationship=="" || type_insurance=="" )
         {
28


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 1           if(zipcode=="")
             {$(".zipcode").css("border","1px solid red");}
 2           else{$(".zipcode").css("border","");}
 3
                if(age=="")
 4              {$(".age").css("border","1px solid red");}
                else{$(".age").css("border","");}
 5              if(gender=="")
 6              {$(".gender").css("border","1px solid red");}
                else{$(".gender").css("border","");}
 7              if(besttimecall=="")
                {$(".besttimecall").css("border","1px solid red");}
 8
                else{$(".besttimecall").css("border","");}
 9              if(patient_relationship=="")
                {$(".patient_relationship").css("border","1px solid red");}
10              else{$(".patient_relationship").css("border","");}
11              if(type_insurance=="")
                {$(".type_insurance").css("border","1px solid red");}
12              else{$(".type_insurance").css("border","");}

13
14       }
         else
15       {
             $(".required").css("border","");
16
            popup_click();
17          }
     }
18
19    var count = 0;
     function popup_click()
20   {
21
22           count += 1;
            if(count==1)
23          {
24           $(".popup2").show();
                  $(".popup1").hide();
25               $("#myModal2").hide()
26
                     //$(".btn").text("Submit");
27                   $("#myModal").show();
            }
28


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 1            else if(count==2)
              {
 2
                  var postdata = $('#bookingForm').serialize();
 3
                  /* var fname = $(".fname").val();
 4                 var lname = $(".lname").val();
                   var email = $(".email").val();
 5                 var phone = $(".phone").val();
 6                 var ipaddress = ""*/
                  var url = "index-form.php"// the script where you handle the form
 7   input.
                  $.ajax({
 8
                          type: "POST",
 9                        url: url,
                          data:postdata, // serializes the form's elements.
10                        success: function(data)
11                        {
                        /* var urls =
12   "http://68.233.243.42/services/edulivepost.php?url=pinpointschool.com&phone1="+
     phone+"&firstname="+fname+"&lastname="+lname+"&email="+email+"&ipaddress="+ipad
13
     dress+"&leadprovider=MAR&user=livepostusermar&pass=%20hshuigfra984";
14                        $.ajax({
                          type: "POST",
15                        url: urls,
                          data:'', // serializes the form's elements.
16
                          success: function(data)
17                        {

18                         }
19                       });*/
                           $("#myModal2").show();
20                        $("#myModal").hide(1000);
                          $(".controlHolder").hide(1000)
21
22   setTimeout(function(){window.location.href='index.php'},5000);
                          }
23                      });
24                      $(".btn").hide();
            }
25
     }
26
27
28


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 1
     </script><script src="js/script.js"></script>
 2   <script>
     // When the user clicks on div, open the popup
 3
     // Get the modal
 4                var modal = document.getElementById('myModal');

 5   // Get the button that opens the modal
 6                var btn = document.getElementById("myBtn");

 7   // Get the <span> element that closes the modal
                  var span = document.getElementsByClassName("close")[0];
 8
 9   // When the user clicks the button, open the modal
     //btn.onclick = function() {
10                // modal.style.display = "block";
11   //}

12   // When the user clicks on <span> (x), close the modal

13
14   // When the user clicks anywhere outside of the modal, close it

15   </script>
16
     <!-- LEADIDID scropt -->
17   <script id="LeadiDscript" type="text/javascript">
     // <!--
18      (function () {
19          var s = document.createElement('script');
            s.id = 'LeadiDscript_campaign';
20          s.type = 'text/javascript';
            s.async = true;
21
            s.src = 'http://create.lidstatic.com/campaign/2b545aa0-c08b-8ff1-52ea-
22   39f84dbb949b.js?snippet_version=2';
            var LeadiDscript = document.getElementById('LeadiDscript');
23          LeadiDscript.parentNode.insertBefore(s, LeadiDscript);
24      })();
     // -->
25   </script>
     <noscript><img src="http://create.leadid.com/noscript.gif?lac=9cf40791-756a-
26
     de31-ed5e-899bab919113&amp;lck=2b545aa0-c08b-8ff1-52ea-
27   39f84dbb949b&amp;snippet_version=2"/></noscript>
     <!-- coded by Diversant -->
28


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 1   </body>
     </html><!--
 2       FILE ARCHIVED ON 22:40:06 Jun 25, 2017 AND RETRIEVED FROM THE
         INTERNET ARCHIVE ON 22:43:43 Dec 09, 2018.
 3
         JAVASCRIPT APPENDED BY WAYBACK MACHINE, COPYRIGHT INTERNET ARCHIVE.
 4
         ALL OTHER CONTENT MAY ALSO BE PROTECTED BY COPYRIGHT (17 U.S.C.
 5       SECTION 108(a)(3)).
 6   -->
     <!--
 7   playback timings (ms):
      LoadShardBlock: 76.795 (3)
 8
      esindex: 0.006
 9    captures_list: 2204.697
      CDXLines.iter: 11.39 (3)
10    PetaboxLoader3.datanode: 29.837 (4)
11    exclusion.robots.fetch: 2111.937 (4)
      exclusion.robots: 2112.442
12    exclusion.robots.policy: 0.248
      RedisCDXSource: 1.489
13
      PetaboxLoader3.resolve: 14.136
14    load_resource: 19.486
     -->
15
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                                       78 Filed   03/23/20 PageID.2596
                                                            PageID.6169 Page
                                                                         Page7980ofof7980




 1                          CERTIFICATE OF SERVICE
 2
 3 Filed electronically on this 14th day of January, 2019, with:
 4 United States District Court CM/ECF system
 5
   Notification sent electronically via the Court’s ECF system to:
 6
 7 Honorable Cynthia A Bashant
 8 United States District Court
   Southern District of California
 9
10 And All Counsel of Record As Recorded On The Electronic Service List.
11
12 This 14th day of January, 2018
13
   s/Todd M. Friedman, Esq.
14 Todd M. Friedman
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